  Case 3:22-cr-00084-RGJ Document 14 Filed 08/04/22 Page 1 of 1 PageID #: 28




                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                                 AT LOUISVILLE

UNITED STATES OF AMERICA                                                                PLAINTIFF


vs.                                                     CRIMINAL ACTION NO. 3:22-cr-84


BRETT HANKISON                                                                        DEFENDANT


                                        ORDER

       The indictment returned by the Federal Grand Jury charging the above-named defendant

with a violations of Title 18, United States Code, Section 242 is hereby ORDERED to be

unsealed.




                                                        August 4, 2022




                                                                 ENTERED
                                                               JAMES J. VILT JR.,   CLERK

                                                                     8/4/2022

                                                              U.S. DISTRICT COURT
                                                          WESTERN DISTRICT OF KENTUCKY
